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                      7   Sakura Miyawaki, et al.
                      8
                                                  UNITED STATES DISTRICT COURT
                      9
                  10                          NORTHERN DISTRICT OF CALIFORNIA
                  11
                                                            SAN JOSE DIVISION
                  12
                  13      In re Ex Parte Application of         ) CASE NO. 5:24-mc-80189
                  14                                            )
                          Sakura Miyawaki, Chae-won Kim,        ) DECLARATION OF JOO YOUNG
                  15      Jennifer Yunjin Huh, Kazuha Nakamura, ) KIM IN SUPPORT OF
                          and E.C.H.,                           ) APPLICANTS’ EX PARTE
                  16                                            ) APPLICATION FOR AN ORDER
                                 Applicants.                    ) PURSUANT TO 28. U.S.C. § 1782
                  17                                            ) AUTHORIZING DISCOVERY FOR
                  18                                            ) USE IN A FOREIGN CIVIL
                                                                ) PROCEEDING
                  19                                            )
                  20
                  21
                                 I, Joo Young Kim, declare that:
                  22
                                 1.      I am over the age of 18 years old, I am competent to testify on the matters stated
                  23
                          in this declaration, and I have personal knowledge of the matters stated herein, unless expressly
                  24      stated otherwise.
                  25             2.      This declaration is in support of the Applicants’ Ex Parte Application for an
                  26      Order Pursuant to 28 U.S.C. § 1782 Authorizing Discovery for Use in a Foreign Civil
                  27      Proceeding (“Application”).

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                      1           3.       I am a General Manager at SOURCE MUSIC Co., Ltd. (“SOURCE MUSIC”), a

                      2   South Korean entertainment company and music label established in 2009 under the laws of the

                      3   Republic of Korea (“Korea”). SOURCE MUSIC’s principal place of business is in Korea. One

                      4   of my responsibilities at SOURCE MUSIC is to deal with social media issues, including but not

                      5   limited to false, defamatory or harassing statements made about the company and its artists.

                      6           4.       SOURCE MUSIC is a private company engaged in the entertainment business

                      7   with a focus on managing LE SSERAFIM, a female k-pop group formed in 2022. The group

                      8   consists of five members: Sakura Miyawaki, Chae-won Kim, Jennifer Yunjin Huh, Kazuha

                      9   Nakamura, and E.C.H. (the “Applicants”).

                  10              5.       Between March 5, 2024 and May 29, 2024, an unidentified person using the

                  11      YouTube handle “@issuefeed” published around sixteen (16) short-form videos (“Shorts” 1 )

                  12      about the Applicants 2 on his or her YouTube channel titled “Issue Feed” (Korean original:

                  13      “이슈피드”). Attached as Exhibit 1 is a true and correct screenshot of the YouTube channel as

                  14      of June 10, 2024. It appears that the YouTube channel has been deleted or deactivated as of July

                  15      15, 2024.

                  16              6.       The Shorts contain false, defamatory and/or harassing statements about the

                  17      Applicants. These include but are not limited to the following:3
                                            (a) In a Short titled “LE SSERAFIM SMART reference plagiarism
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                                                    controversy that even foreigners are sensing” (Korean original:
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                                                    “외국인들도 느끼고 있다는 르세라핌 SMART 레퍼런스 표절 논란
                  20
                                                    ㄷㄷ”) dated March 5, 2024,4 the YouTuber defamed the Applicants by
                  21
                                                    stating one of their songs copied two other artists. This Short states that
                  22
                                                    the Applicants’ song ‘SMART’ copied Doja Cat’s ‘Woman’ and Tyla’s
                  23                                ‘Water’ in terms of the lyrics, melody, beat, and choreography. The
                  24                                YouTuber also harassed and defamed the Applicants by reposting
                  25
                          1
                            Short-form videos typically last up to 60 seconds. See https://www.youtube.com/intl/en_id/creators/shorts/.
                  26      2
                            All date and time references are based on Korea Standard Time (KST).
                          3
                            I have reviewed the Korean original statements made in the Shorts and hereby confirm the accuracy of their
                  27        English translation referenced in the subparagraphs.
                          4
                            https://www.youtube.com/watch?v=7P54w8pJKjI.
                  28
                                                                    2
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                                                   comments from other anonymous individuals, including but not limited to
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                                                   the following quotes: “le ssserafim just doesn’t have a musical
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                                                   identity…,” “This is just a watered down version of water by tyla and
                      3
                                                   woman by doja cat lmaoo, ‘keep kpop korean’ they said’,” “smart by le
                      4                            sserafim literally reminds me of water by tyla and clam down by rema and
                      5                            selena AND woman by doja.” This Short received approximately
                      6                            2,170,000 views, 39,000 ‘likes’ and 2,500 comments as of June 10, 2024.
                      7                         (b) In a Short titled “Shocking reaction of foreigners after watching LE

                      8                            SSERAFIM’s Coachella stage” (Korean original: “르세라핌 코첼라 무대

                      9                            본 외국인의 충격적인 반응”) dated April 22, 2024, 5 the YouTuber

                  10                               defamed and harassed the Applicants by stating the Applicants’

                  11                               “Coachella stage was a mess” (Korean original: “코첼라 무대 망했던

                  12                               르세라핌”), “foreigner was shocked at the silent live music” (Korean

                  13                               original: “무음 라이브에 경악하는 외국인”), and “the more difficult

                  14                               part was the second Coachella stage / they just went on stage with AR just
                                                   like Korean music shows / they totally gave up doing live music and just
                  15
                                                   did the choreography” (Korean original: “더 난관은 2회차 코첼라
                  16
                                                   무대인데 / 아예 국내 음방마냥 AR깔고 무대함 / 라이브는 완전히
                  17
                                                   포기하고 춤만 춤”). The YouTuber also harassed and defamed the
                  18
                                                   Applicants by reposting comments from other anonymous individuals,
                  19
                                                   including but not limited to the following quotes: “I saw a comment
                  20
                                                   saying that people in karaoke sing better than them,” “Those improved
                  21
                                                   parts are ‘talk singing’, not really singing,” and “When they cant [sic] sing
                  22                               the part, they just scream.” This Short received approximately 244,000
                  23                               views, 7,400 ‘likes’ and 420 comments as of June 10, 2024.
                  24                            (c) In a Short titled “Creepy meaning behind LE SSERAFIM’s music video
                  25                               that now gives you goose bumps” (Korean original: “이제보니 소름 쫙
                  26
                  27
                          5
                              https://www.youtube.com/watch?v=yKeLhE2yriU.
                  28
                                                                  3
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                                                     돋는 르세라핌 뮤비 속 소름돋는 의미 ㄷㄷ”) dated April 30, 2024,6 the
                      1
                                                     YouTuber defamed and harassed the Applicants by implying are
                      2
                                                     associated with a religious cult: “LE SSERAFIM’s debut concept: fallen
                      3
                                                     angel / thought it was going for a rebellious concept involving rule
                      4
                                                     breaking… / through recent incident, past music videos attracted attention
                      5                              / creepy symbols came to light one after another… / 1. Symbols about
                      6                              angels / Kazuha’s wing on fire / She rips it off with her own hand… / Not
                      7                              the previous angel (Christianity) / but made into their own angel” (Korean
                      8                              original: “르세라핌 데뷔 컨셉: 타락한 천사 / 룰을 깨는 반항적인
                      9                              컨셉인줄 알았는데… / 이번 사태로 지난 MV들이 재조명되며 /
                  10                                 소름돋는 상징들 속속 밝혀짐… / 1. 천사에 대한 상징들 / 불타고
                  11                                 있는 카즈하의 날개 / 자기 손으로 직접 뜯어버리는데… / 기존의
                  12                                 천사(기독교)가 아니라 / 자신들만의 천사로 만들어버림”). This Short
                  13                                 received approximately 2,130,000 views, 53,000 ‘likes’ and 2,600
                  14                                 comments as of June 10, 2024.

                  15      As of July 15, 2024, these Shorts are no longer publicly available online because it appears that
                  16      they have been changed to “private.” 7 There is nothing that prevents this YouTuber from
                  17      reactivating the YouTube channel and posting the Shorts again.
                  18               7.       Another unidentified person using the YouTube handle “@shortchajang”
                  19      published around sixteen (16) Shorts about the Applicants between April 6, 2024 and May 28,
                  20      2024 on his or her YouTube channel titled “Short Chajang” (Korean original: “숏차장”).
                  21      Attached as Exhibit 2 is a true and correct screenshot of the YouTube channel as of July 11,
                  22      2024. The YouTube channel is active as of July 15, 2024 8 and has approximately 195,000
                  23      subscribers.
                  24               8.       The Shorts contain false, defamatory and/or harassing statements about the
                  25
                  26      6
                            https://www.youtube.com/watch?v=G7923f3HErU.
                          7
                            When I enter in the URL relating to the Shorts, message stating “Video unavailable. This video is private.”
                  27        Appears on the web page.
                          8
                            https://www.youtube.com/@shortchajang.
                  28
                                                                    4
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                      1   Applicants. These include but are not limited to the following:9

                      2                         (a) In a Short titled “What is the truth behind Chae-won Kim’s body shape
                      3                             that                  changed?”                     (Korean                    original:
                      4                             “몸매가 달라졌다는 김채원 진실이 뭘까?”) dated April 21, 2024,10 this
                      5                             YouTuber defamed and harassed Applicant Chae-won Kim by focusing on

                      6                             parts of her body and falsely stating she received plastic surgery. This

                      7                             Short received approximately 1,957,000 views, 33,000 ‘likes’ and 900
                                                    comments as of July 15, 2024.
                      8
                                                (b) In a Short titled “Sound even after taking off the microphone..? Bigger
                      9
                                                    controversy with LE SSERAFIM’s second Coachella” (Korean original:
                  10
                                                    “마이크를 떼도 소리가..? 르세라핌 2차 코첼라 더 뜨거운 논란”)
                  11
                                                    dated April 22, 2024,11 the YouTuber defamed the Applicants by alleging
                  12                                they were lip syncing: “LE SSERAFIM’s second Coachella stage is
                  13                                controversial / the current state is that there are people that say they
                  14                                improved and also other people that say they used too much AR / Because
                  15                                of the AR, even with the microphone removed apparently there was still
                  16                                transmission of voice” (Korean original: “르세라핌의 2차 코첼라

                  17                                무대가 논란이다 / 실력이 좋아졌다며 호평하는 사람들과 AR이 너무

                  18                                심하다는 사람들이 대립중인 현 상황 / AR때문에 마이크를 떼도

                  19                                목소리가 그대로 송출되었다고 하는데”). This Short received
                  20                                approximately 124,000 views, 1,900 ‘likes’ and 110 comments as of July

                  21                                15, 2024.
                                                (c) In a Short titled “LE SSERAFIM looking so anxious these days..” (Korean
                  22
                                                    original: “요즘 상태가 너무 불안해보이는 르세라핌..”) dated May 4,
                  23
                                                    2024, 12 the YouTuber defamed and harassed the Applicants by falsely
                  24
                                                    stating: “Controversy with a member involved with school violence and
                  25
                  26      9
                            I have reviewed the Korean original statements made in the Shorts and hereby confirm the accuracy of their
                             English translation referenced in the subparagraphs.
                  27      10
                             https://www.youtube.com/watch?v=ya88sVRAY94.
                          11
                             https://www.youtube.com/watch?v=JzAlr69p6bo.
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                                                                   5
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                                                  also provocative choreography and outfit / controversy involving
                      1
                                                  plagiarism / encore live / controversial skills” (Korean original: “학폭
                      2
                                                  이슈 멤버로 논란이 되었고 선정적인 안무와 의상으로 논란 / 표절
                      3
                                                  논란 / 앵콜 라이브 / 실력으로 또 논란”). This Short received
                      4
                                                  approximately 367,000 views, 5,200 ‘likes’ and 560 comments as of July
                      5
                                                  15, 2024.
                      6
                                    9.     The YouTubers’ Shorts have inflicted and continue to inflict significant
                      7
                          reputational damage on the Applicants. The YouTubers’ false allegations, defamatory and/or
                      8
                          harassing statements against the Applicants, SOURCE MUSIC and/or its other artists caused
                      9
                          damage to those being attacked and the company.
                  10
                                    10.    To date, the Applicants’ efforts to locate these anonymous persons by searching
                  11
                          publicly available information have failed to find the true identities of the YouTubers.
                  12
                                    11.    Based on the words and expressions in these Shorts that were originally published
                  13
                          in Korean, we believe that the YouTubers are native Korean speakers and are likely to be based
                  14
                          in Korea. To date, we have not discovered anything that would indicate the YouTubers are non-
                  15
                          Korean citizens or that they reside in the US.
                  16
                                    12.    On June 12, 2024, the Applicants filed a civil lawsuit against the anonymous
                  17
                          YouTubers in Seoul, Korea (“Korean Civil Matter”) for publishing defamatory YouTube
                  18
                          videos. The Applicants are claiming defamation pursuant to Articles 750 and 751 of the Civil
                  19
                          Act of Korea against the YouTubers. I am informed and believe that the YouTubers’ defamatory
                  20
                          statements made against E.C.H., a minor under the age of 18 years old, is also a violation of
                  21
                          Article 17, Paragraph 5, of the Child Welfare Act of Korea.
                  22
                                    13.    Unless the identities of the anonymous YouTubers are revealed, the Applicants
                  23
                          will not be able to proceed with the Korean Civil Matter. As a result, the Applicants intend to use
                  24
                          the identity of the anonymous YouTuber for the Korean Civil Matter.
                  25
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                  27
                          12
                               https://www.youtube.com/watch?v=GhXhQdnwoWY.
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                                                                 6
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                      1              14.      The anonymous YouTubers’ false, defamatory and/or harassing statements13 have

                      2   caused irreparable harm to the Applicants. The YouTubers may continue to upload false,

                      3   defamatory and/or harassing statements about the Applicants and there is nothing stopping them

                      4   from doing so unless the Applicants can proceed with the Korean Civil Matter. We look forward

                      5   to identifying the persons responsible for these statements so that the Applicants’ rights can be

                      6   recognized by the Korean civil court.

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                  27      13
                               Since these statements have already been published, we are not seeking any communications or contents of any
                                communications through the Applicants’ Section 1782 request for limited discovery.
                  28
                                                                      7
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                                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
                       1
                           United States of America that the foregoing is true and correct.
                       2
                       3             Executed on July 15, 2024
                       4
                       5                                                  /

                       6                                          JOO YbONG KIM

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                              Exhibit 1
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                              Exhibit 2
